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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §            CRIMINAL NO. 4:05-CR-173-7
                                                 §
 MELVIN GRIFFIN, JR.                             §

                          REPORT AND RECOMMENDATION OF
                          UNITED STATES MAGISTRATE JUDGE

        On January 15, 2009, the Court conducted a hearing to consider the government’s petition

 to revoke the supervised release of Defendant, Melvin Griffin, Jr. a/k/a Chuck. The government was

 represented by Maureen Smith, Assistant United States Attorney for the Eastern District of Texas,

 and Defendant was represented by Denise Benson.

        Defendant originally pleaded guilty to the offense of Conspiracy to Distribute or Possess with

 Intent to Distribute or Dispense Cocaine Base and Marijuana, a Class C felony. The offense carried

 a statutory maximum imprisonment term of 20 years. The United States Sentencing Guideline range,

 based on a total offense level of 13 and a criminal history category of IV, was 24 to 30 months. On

 May 11, 2006, U.S. District Judge Michael H. Schneider, of the Eastern District of Texas, sentenced

 Defendant to Time Served followed by three years supervised release subject to the standard

 conditions of release, plus special conditions to include financial disclosure, drug treatment and

 testing, repay delinquent child support and a $100 special assessment. On May 11, 2006, Defendant

 completed the term of imprisonment and began service of the supervision term.

        Under the terms of supervised release, Defendant was prohibited, in relevant part, from:

 committing another federal, state, or local crime; and unlawfully purchasing, possessing, using,

 distributing, or administering any controlled substance or any paraphernalia related to such
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 substances, except as prescribed by a physician. In its petition, the government alleges that

 Defendant violated his conditions of supervised release by being arrested on July 18, 2008, by

 McKinney Police Department for Manufacturing/Delivery of a Controlled Substance, Cocaine, a

 State Jail Felony. The offense conduct occurred on or about February 14, 2008. The Defendant also

 violated his conditions of supervised release by being arrested on July 7, 2008, by McKinney Police

 Department for Manufacturing/Delivery of a Controlled Substance, Cocaine, a Second Degree

 Felony. The offense conduct occurred on or about January 22, 2008. The defendant pled guilty and

 received a fifteen year concurrent sentence in both cases.

        If the Court finds by a preponderance of the evidence that Defendant committed these

 violations, a statutory sentence of no more than two years of imprisonment may be imposed. 18

 U.S.C. § 3583(e)(3). Pursuant to Section 7B1.1(a) of the Sentencing Guidelines, violating a

 condition of supervision by committing another state or local crime on or about January 22, 2008

 and February 14, 2008 would constitute a Grade A violation, for which the Court shall revoke

 Defendant’s term of supervised release in favor of a term of imprisonment. U.S.S.G. § 7B3.1(a)(1).

 Considering Defendant’s criminal history category of IV, the Guideline imprisonment range for a

 Grade A violation is 24 to 30 months. U.S.S.G. § 7B1.4(a).

        At the hearing, Defendant pled true to violating a mandatory condition of supervision by

 committing a crime under state law.

         Due to the fifteen year sentence Defendant has already received for the underlying conduct

 above, the Court finds that a downward departure from the guideline range is appropriate. Pursuant

 to the Sentencing Reform Act of 1984, the Court RECOMMENDS that Defendant, Melvin Charles

 Griffin, Jr. a/k/a Chuck, be committed to the custody of the Bureau of Prisons for a term of


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 imprisonment of 20 months, to be served consecutively to any sentence of imprisonment the
                  .
 defendant is serving in cause numbers 366-82120-08 and 366-82121-08, with no supervised release

 to follow.



                  So ORDERED and SIGNED this 16th day of January, 2009.




                                                ___________________________________
                                                           JOHN D. LOVE
                                                UNITED STATES MAGISTRATE JUDGE




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